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                                                                               BILL OF COSTS
                                                                                            DISTRICT
                     United States District Court                                                                          DISTRICT OF COLORADO
                                                                                            DOCKET NO.
Zachary Chesser                                                                                             1:15cv01939-NYW
   v.
                                                                                            MAGISTRATE CASE NO.
Director, Bureau of Prisons
           Judgment having been entered in the above entitled action on     August 7, 2018
           against   Plaintiff Zachary Chesser                                                            the clerk is requested to tax the following as costs:
                                                                               BILL OF COSTS
           Fees of the clerk                                                                                                                               $


           Fees for service of summons and complaint                                                                                                       $


           Fees of the court reporter for all or any part of the transcript necessarily obtained for use in the case                                       $


           Fees and disbursements for printing                                                                                                             $                   78.60


           Fees for witnesses (itemized on reverse side)                                                                                                   $


           Fees for exemplification and copies of papers necessarily obtained for use in the case                                                          $


           Docket fees under 28 U.S.C. § 1923                                                                                                              $


           Costs incident to taking of depositions                                                                                                         $                 2,252.20


           Costs as shown on Mandate of Court of Appeals                                                                                                   $


           Other costs (Please itemize)                                                                                                                    $




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           (See Notice section on reverse side)
                                                                                                                            TOTAL             $                           2,330.80
                                                                             DECLARATION
              I declare under penalty of perjury that the foregoing costs are correct and were necessarily incurred in this action and that the services for which fees
           have been charged were actually and necessarily performed. A copy hereof was this day mailed with postage fully prepaid thereon to:

           Signature of Attorney        /s/ Susan Prose
           Print Name                                                                              Phone Number
                         Susan Prose                                                                                  303-454-0100

           For:           Director, Bureau of Prisons                                              Date               8/10/2018
                         Name of Claiming Party



Please take notice that I will appear before the Clerk who will tax said costs Date and Time September                                            18, 2018 at 9:00am
on the following day and time:
Costs are hereby taxed in the following amount and included in the judgment: Amount Taxed $

                                                                                                   (BY) DEPUTY CLERK
CLERK OF COURT
JEFFREY P. COLWELL                                                                                 DATE:
                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Civil Action No. 15-cv-01939-NYW

ZACHARY A. CHESSER,

       Plaintiff,

v.

DIRECTOR, BUREAU OF PRISONS,

       Defendant.


                        DEFENDANT’S EXPLANATION OF COSTS



I.     Explanation for seeking costs for copies

       Amount per copy

       Defendant seeks $.10 per page for copies. Defendant notes that the Court charges $.50
per page for copies. See http://www.uscourts.gov/services-forms/fees/district-court-
miscellaneous-fee-schedule.

       Copies for service copies under Fed. R. Civ. P. 5

        Defendant served Mr. Chesser with copies of filings under Federal Rule of Civil
Procedure 5. Costs for service of copies under Rule 5 are taxable as costs. See, e.g., Smith v.
Sec’y, Florida Dep’t of Corr., 598 F. App’x 738, 739 (11th Cir. 2015)

        Defendant does not seek costs for every service copy sent to Mr. Chesser, but only for
key filings totaling 786 pages, totaling $78.60 in costs. The following table sets forth these
pages:
Doc.   Document                                      Pages
 42    Defendant’s Motion to Dismiss Second             71
       Amended Complaint and Exhibits
 44    Defendant’s Motion to Stay Discovery             13
 67    Defendant’s Motion to Dismiss Third             194
       Amended Complaint and Exhibits
 73    Defendant’s Reply in Support of Motion           11
       to Dismiss
 85    Defendant’s Response to Plaintiff’s             108
       Motion for TRO and Preliminary
       Injunction
145    Defendant’s Answer                               11
181    Defendant’s Motion for Summary                  307
       Judgment
198    Defendant’s Response to Plaintiff’s              60
       Motion for Summary Judgment
200    Defendant’s Reply in Support of Motion           11
       for Summary Judgment
                                       TOTAL           786


II.    Explanation for seeking deposition costs

        Defendant incurred deposition costs relating to the deposition of Mr. Chesser. Defendant
utilized this transcript in its motion for summary judgment. The invoice for this deposition in the
amount of $2,252.20 is attached.

       Respectfully submitted on August 10, 2018.

                                                     ROBERT C. TROYER
                                                     United States Attorney

                                                     s/ Susan Prose
                                                     Susan Prose
                                                     Assistant United States Attorney
                                                     1801 California Street, Suite 1600
                                                     Denver, CO 80202
                                                     Telephone: 303-454-0100
                                                     Fax: 303-454-0404
                                                     E-mail: susan.prose@usdoj.gov

                                                     Counsel for the Federal Bureau of Prisons


                                                 2
                                                             RE:
                                                            Chesser v. Director, BOP
                                                            United States District Court
                                                            District of Colorado
                                                            Civil Action No. l5-CV-01939-NYW




                FDepo            Deposition of ZACHARY A. CHESSER
                                 Original Transcript Preparation
                                 January 16,2018
                Fe-Transcript    e-Transcript - final
               Exhibits Sca...   Exhibits Scanned
               Index Tabs        Index Tabs
               AF-GOV            Appearance Fee-Government
               FMileage          Federal Mileage Florence, CO
               Rough Draft       Rough Draft Transcript - No Charge
               Fe-Transcript     e-Transcript - rough draft - No Charge




Interest will be charged at the rate of 1.5%o per month on any
amount not paid within 30 days.
                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO
                         CERTIFICATE OF SERVICE (CM/ECF)

       I hereby certify that on August 10, 2018, I directed BOP personnel to hand deliver the
foregoing document to the following non-CM/ECF participant:

Zachary A. Chesser
Reg. No. 76715-083
USP Florence – High
U.S. Penitentiary
P.O. Box 7500
Florence, CO 81226



                                            s/ Susan Prose
                                            Susan Prose
                                            United States Attorney’s Office
